
111 B.R. 370 (1990)
In re LUMPKIN SAND AND GRAVEL, INC., Debtor.
In re CAMP LIGHTWEIGHT, INC., Debtor.
KAL-O-MINE INDUSTRIES, INC., and Lumpkin Sand and Gravel, Inc., Plaintiffs/Appellees,
v.
Wilson M. CAMP, II, Defendant/Appellant.
Civ. A. No. 89-115-Col, Bankruptcy Nos. 87-40005-Col., 85-40260-Col, Adv. No. 89-4033.
United States District Court, M.D. Georgia, Columbus Division.
February 12, 1990.

ORDER ON APPEAL
This is an appeal by Wilson M. Camp, II, the above named Defendant-Appellant, from a final order of the United States Bankruptcy Court for the Middle District of Georgia, Columbus Division, dated August 25, 1989, 104 B.R. 529, in which order the Bankruptcy Court held that Kal-O-Mine Industries, Inc. and Lumpkin Sand and Gravel, Inc., the above named Plaintiffs/Appellees, are the owners of certain real and person property referred to in said order.
The Court has reviewed the record in this matter and has given careful consideration to the briefs filed by the Appellant and by the Appellees and determines that the order of the Bankruptcy Court appealed from should be and is hereby affirmed in all respects.
IT IS SO ORDERED.
